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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                                 MDL No. 2741



                                  (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −243)



On October 3, 2016, the Panel transferred 19 civil action(s) to the United States District Court for
the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 214 F.Supp.3d 1346 (J.P.M.L. 2016). Since that time, 3,118 additional
action(s) have been transferred to the Northern District of California. With the consent of that court,
all such actions have been assigned to the Honorable Vince Chhabria.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of California and assigned to
Judge Chhabria.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of California for the reasons stated in the order of October 3, 2016, and, with the
consent of that court, assigned to the Honorable Vince Chhabria.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of California. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                                      FOR THE PANEL:


                Nov 12, 2020
                                                                      John W. Nichols
                                          I hereby certify that the annexed
                                                                      Clerk of the Panel
                                        instrument is a true and correct copy
                                          of the original on file in my office.

                                    ATTEST:
                                    SUSAN Y. SOONG
                                    Clerk, U.S. District Court
                                    Northern District of California


                                        by:
                                                   Deputy Clerk
                                        Date:   11/12/2020
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IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                           MDL No. 2741



                 SCHEDULE CTO−243 − TAG−ALONG ACTIONS



 DIST     DIV.      C.A.NO.     CASE CAPTION


FLORIDA MIDDLE

  FLM      2       20−00854     Drons v. Monsanto Company
  FLM      5       20−00522     Konzny v. Monsanto Company
  FLM      8       20−02522     Skonicki v. Monsanto Company
  FLM      8       20−02528     Smither v. Monsanto Company

FLORIDA SOUTHERN

  FLS      1       20−24392     Salas v. Monsanto Company et al Opposed 11/10/20

OHIO NORTHERN

 OHN       3       20−01871     Cira et al v. Monsanto Company
